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                                              Krug v. City of Troy
                           United States District Court for the Northern District of New York
                               December 10, 2010, Decided; December 10, 2010, Filed
                                                1:04-CV-0640 (TJM/DRH)

Reporter
2010 U.S. Dist. LEXIS 130811 *; 2010 WL 5138376

ROBERT L. KRUG and BONNIE S. KRUG, Plaintiffs, -
                                                                   Civil Procedure > ... > Relief From
against- THE CITY OF TROY, et al., Defendants.
                                                                   Judgments > Excusable Mistakes &
                                                                   Neglect > General Overview
Prior History: Krug v. County of Rennselaer, 2010 U.S.
Dist. LEXIS 106228 (N.D.N.Y, Oct. 5, 2010)
                                                                   Civil Procedure > Judgments > Relief From
Krug v. County of Rennselaer, 559 F. Supp. 2d 223,
                                                                   Judgments > Newly Discovered Evidence
2008 U.S. Dist. LEXIS 73651 (N.D.N.Y, 2008)
                                                               HN1[ ]    Relief From         Judgments,      Excusable
Core Terms                                                     Mistakes & Neglect

new trial, searched, van, reconsideration motion,              A motion for reconsideration is not a substitute for an
witnesses, credibility, quotation, matter of law, citations,   appeal. The standard for granting a motion for
reasons, seizure, issues, summary judgment motion,             reconsideration is strict, and reconsideration will
search and seizure, decisions, jury's, rental                  generally be denied unless the moving party can point
                                                               to controlling decisions or data that the court
Case Summary                                                   overlooked, matters, in other words, that might
                                                               reasonably be expected to alter the conclusion reached
                                                               by the court. The high burden imposed on the moving
Overview                                                       party has been established in order to dissuade
The     husband      property    owner's      motion    for    repetitive arguments on issues that have already been
reconsideration was denied because the husband                 considered by the court and discourage litigants from
property owner neither made factual allegations in the         making repetitive arguments on issues that have been
amended complaint, nor provided evidence in                    thoroughly considered by the court and to ensure finality
opposition to the second motion for summary judgment,          and prevent the practice of a losing party examining a
indicating that he suffered any actual damages from the        decision and then plugging the gaps of the lost motion
seizure of his 1989 Oldsmobile or the search and               with additional matters. Reconsideration is not a vehicle
seizure of the rental vehicle. Accordingly, the only actual    for relitigating old issues, presenting the case under new
injury conceivable arising from these asserted                 theories, or otherwise taking a second bite at the apple.
constitutional violations was the fact of the property         Reargument is also not a vehicle to advance new facts,
owner's conviction which, under Heck, was barred.              issues or arguments not previously presented to the
                                                               court. The Northern District of New York recognizes only
Outcome                                                        three possible grounds upon which a motion for
Motion for reconsideration denied. Motion for judgment         reconsideration may be granted: (1) an intervening
as a matter of law denied.                                     change in controlling law, (2) the availability of new
                                                               evidence not previously available, or (3) the need to
LexisNexis® Headnotes                                          correct clear error of law to prevent manifest injustice.



                                                                   Civil Procedure > Judgments > Relief From
                                                                   Judgments > Extraordinary Circumstances


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HN2[ ] Relief From Judgments, Extraordinary                   HN5[ ] Entitlement as Matter of Law, Legal
Circumstances                                                 Entitlement

A motion under Fed. R. Civ. P. 60(b)(1) must be made          In the United States Court of Appeals for the Second
within one year after the judgment. Fed. R. Civ. P.           Circuit, a party seeking to vacate a jury verdict and enter
60(c)(1). A motion under Fed. R. Civ. P. 60(b)(6) must        judgment as a matter of law carries a heavy burden. A
be made within a reasonable time. Fed. R. Civ. P.             motion for judgment as a matter of law pursuant to Fed.
60(c)(1). What is reasonable entails a balancing of the       R. Civ. P. 50, may not properly be granted unless: (1)
interest in finality with the reasons for the delay. A Fed.   there is such a complete absence of evidence
R. Civ. P. 60(b)(6) motion requires extraordinary             supporting the verdict that the jury's findings could only
circumstances, which typically do not exist where the         have been the result of sheer surmise and conjecture,
applicant fails to move for relief promptly. N.D.N.Y. R.      or (2) there is such an overwhelming amount of
7.1(g) provides that unless Fed. R. Civ. P. 60 otherwise      evidence in favor of the movant that reasonable and fair
governs, a party may file and serve a motion for              minded persons could not arrive at a verdict against it.
reconsideration or reargument no later than 14 days
after the entry of the challenged judgment, order, or
decree.
                                                                  Civil Procedure > ... > Summary
                                                                  Judgment > Entitlement as Matter of Law > Legal
                                                                  Entitlement
    Civil Procedure > Judgments > Relief From
    Judgments > Fraud, Misconduct &                           HN6[ ] Entitlement as Matter of Law, Legal
    Misrepresentation                                         Entitlement

    Civil Procedure > ... > Relief From                       In ruling on a motion for judgment as a matter of law,
    Judgments > Excusable Mistakes &                          the trial court is required to consider the evidence in the
    Neglect > General Overview                                light most favorable to the party against whom the
                                                              motion was made and to give that party the benefit of all
    Civil Procedure > Judgments > Relief From                 reasonable inferences that the jury might have drawn in
    Judgments > Newly Discovered Evidence                     his favor from the evidence. The court cannot assess
                                                              the weight of conflicting evidence, pass on the credibility
    Civil Procedure > Judgments > Relief From                 of the witnesses, or substitute its judgment for that of
    Judgments > Void Judgments                                the jury. In reviewing the evidence, the court should
                                                              consider everything in the record, however, it must
HN3[ ] Relief From Judgments, Fraud, Misconduct               disregard all evidence favorable to the moving party that
& Misrepresentation                                           the jury is not required to believe. That is, the court
                                                              should give credence to the evidence favoring the
See Fed. R. Civ. P. 60(b).                                    nonmovant as well as that evidence supporting the
                                                              moving party that is uncontradicted and unimpeached,
                                                              at least to the extent that that evidence comes from
    Civil Procedure > Judgments > Entry of                    disinterested witnesses.
    Judgments > General Overview

HN4[   ] Judgments, Entry of Judgments                            Civil Procedure > Judgments > Relief From
                                                                  Judgments > Altering & Amending Judgments
N.D.N.Y. R. 7.1(g) merely details a procedure to govern
motions for reconsideration, without setting out an           HN7[ ] Relief From           Judgments,      Altering    &
applicable standard for determining such applications.        Amending Judgments

                                                              Fed. R. Civ. P. 59 provides that a new trial may be
    Civil Procedure > ... > Summary                           granted for any of the reasons for which new trials have
    Judgment > Entitlement as Matter of Law > Legal           heretofore been granted in action at law in federal court.
    Entitlement                                               Fed. R. Civ. P. 59(a)(1)(A). The United States Court of

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Appeals for the Second Circuit has interpreted that             HN10[    ] Inferences & Presumptions, Inferences
standard to permit the granting of new trials when in the
opinion of the district court, the jury has reached a           When a party has it peculiarly within its power to
seriously erroneous result or the verdict is a miscarriage      produce witnesses and fails to do so, the jury may infer
of justice. A new trial may be granted, therefore, when         that the testimony, if produced, would be unfavorable to
the jury's verdict is against the weight of the evidence.       that party. However, when a witness is equally available
                                                                to both sides, the failure to produce is open to an
                                                                inference against both parties.
    Civil Procedure > Judgments > Relief From
    Judgments > Motions for New Trials
                                                                    Civil Procedure > Attorneys > General Overview
HN8[ ] Relief From Judgments, Motions for New
Trials                                                          HN11[    ] Civil Procedure, Attorneys

Unlike judgment as a matter of law, a new trial may be          There is no constitutional or statutory right to effective
granted even if there is substantial evidence supporting        assistance of counsel in a civil case.
the jury's verdict. Moreover, a trial judge is free to weigh
the evidence himself, and need not view it in the light         Counsel: [*1] Robert L. Krug, Plaintiff, Pro se, New
most favorable to the verdict winner. A court considering       Baltimore, NY.
a Fed. R. Civ. P. 59 motion for a new trial must bear in        For Robert L. Krug, Plaintiff: Brian W. Matula, LEAD
mind, however, that the court should only grant such a          ATTORNEY, Cooper, Erving Law Firm, Albany, NY.
motion when the jury's verdict is egregious. A court
should rarely disturb a jury's evaluation of a witness's        Bonnie S. Krug, Plaintiff, Pro se, New Baltimore, NY.
credibility. Therefore, where the resolution of the issues      For Bonnie S. Krug, Plaintiff: James W. Hyde, IV, LEAD
depends on assessment of the credibility of the                 ATTORNEY, Office of James W. Hyde, IV, Clifton Park,
witnesses, it is proper for the court to refrain from setting   NY.
aside the verdict and granting a new trial.
                                                                For City of Troy, Nicholas Kaiser, Asst. Police Chief,
                                                                John Waters, in his individual and official capacity as
                                                                Sergeant, Terrance Buchanan, in his individual and
    Civil Rights Law > ... > Scope > Law Enforcement            official capacity as Sergeant, Lee F. Hess, in his
    Officials > Search & Seizure                                individual and official capacity as an officer, Jack Mahar,
                                                                Capt., Asst. Police Chief, Richard Schoonmaker, P.O.,
HN9[ ]     Law Enforcement Officials, Search &                  Defendants: Nannette R. Kelleher, LEAD ATTORNEY,
Seizure                                                         Aaron E. Connor, Bailey, Kelleher Law Firm, Albany,
                                                                NY.
While the court has recognized that a suit for damages
attributable to an allegedly unreasonable search may lie        For FBI Special Agent Cieplik, Defendant: William F.
even if the challenged search produced evidence that            Larkin, LEAD ATTORNEY, Charles E. Roberts, Office of
was introduced in a state criminal trial resulting in the 42    the United States Attorney - Syracuse, Syracuse, NY.
U.S.C.S. § 1983 plaintiff's still-outstanding conviction,       For Robert L. Krug, Counter Defendant: Brian W.
Heck also instructs that in order to recover                    Matula, LEAD ATTORNEY, Cooper, Erving Law Firm,
compensatory damages based on an allegedly                      Albany, NY.
unreasonable search, the § 1983 plaintiff must prove not
only that the search was unlawful, but that it caused him       For Bonnie S. Krug, Counter Defendant: James W.
actual, compensable injury, which, the United States            Hyde, IV, LEAD ATTORNEY, Office of James W. Hyde,
District Court for the Northern District of New York holds      IV, Clifton Park, NY.
does not encompass the injury of being convicted and            For Troy Police Department, Counter Claimant:
imprisoned.                                                     Nannette R. Kelleher, LEAD [*2] ATTORNEY, Bailey,
                                                                Kelleher Law Firm, Albany, NY.

    Evidence > Inferences & Presumptions > Inferences           Judges: THOMAS J. McAVOY, Senior United States
                                                                District Judge.

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Opinion by: THOMAS J. McAVOY                                  generally be denied unless the moving party can point
                                                              to controlling decisions or data that the court overlooked
Opinion                                                       - matters, in other words, that might reasonably be
                                                              expected to alter the conclusion reached by the court."
                                                              Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir.
                                                              1995); see also Friedman v. S.U.N.Y. at Binghamton,
DECISION & ORDER                                              2006 U.S. Dist. LEXIS 72642, 2006 WL 2882980, at * 1
                                                              (N.D.N.Y. Oct. 5, 2006). "The high burden imposed on
                                                              the moving party has been established in order to
I. INTRODUCTION                                               dissuade repetitive arguments on issues that have
                                                              already been considered by the court and discourage
Presently before the Court are: (1) Plaintiff Robert L.       litigants from making repetitive arguments on issues that
Krug's motion for reconsideration of various decisions        have been thoroughly considered by the court [and] to
that dismissed his claims, see Recon. Mot., dkt. # 214;       ensure finality and [*4] prevent the practice of a losing
and (2) Plaintiff Bonnie S. Krug's motion for a judgment      party examining a decision and then plugging the gaps
as a matter of law or, in the alternative, a new trial. See   of the lost motion with additional matters." Nowacki v.
Post-Trial Mot., dkt. # 219. Defendants have opposed          Closson, 2001 U.S. Dist. LEXIS 1678, 2001 WL 175239,
the motions, see Resp. in Opp. to Recon. Mot., dkt. #         *1 (N.D.N.Y. Jan. 24, 2001) (Munson, J.) (internal
220; Resp. in Opp. to Post-Trial Mot., dkt. # 221, and        citations and quotations omitted). Reconsideration "is
Bonnie Krug filed a reply. See Reply, dkt. # 225. For the     not a vehicle for relitigating old issues, presenting the
reasons that follow, both motions are denied.                 case under new theories, securing a rehearing on the
                                                              merits, or otherwise taking a 'second bite at the apple.'"
                                                              Sequa Corp. v. GBJ Corp., 156 F.3d 136, 144 (2d Cir.
II. BACKGROUND                                                1998). Reargument is also not a vehicle to "advance
                                                              new facts, issues or arguments not previously presented
The background of this case, up to the time of trial, was     to the court." Polanco v. United States, 2000 U.S. Dist.
set forth in the Court's two prior decisions on               LEXIS 13393, 2000 WL 1346726, at *1 (S.D.N.Y. Sept.
Defendants' motions for summary judgment. See March           19, 2000) (quoting Shrader, 70 F.3d at 256). "The
31, 2008 Decision & Order, dkt. # 148 reported at Krug        Northern District of New York 'recognizes only three
v. County of Rennselaer, 559 F. Supp.2d 223 (N.D.N.Y.         possible grounds upon which a motion for
2008); October 5, 2010 Decision and Order, dkt. # 206,        reconsideration may be granted: (1) an intervening
reported at Krug v. County of Rennselaer, Slip Copy,          change in controlling law, (2) the availability of new
2010 U.S. Dist. LEXIS 106228, 2010 WL 3937319                 evidence not previously available, or (3) the need to
(N.D.N.Y., Oct. 5, 2010). Familiarity with these decisions    correct clear error of law to prevent manifest injustice.'"
is presumed.                                                  Friedman, 2006 U.S. Dist. LEXIS 72642, 2006 WL
                                                              2882980, at * 1 (quoting Nowacki, 2001 U.S. Dist.
On October 13, 2010, a jury [*3] trial commenced on
                                                              LEXIS 1678, 2001 WL 175239, at *1).
Plaintiff Bonnie S. Krug's remaining claims of false
arrest and illegal searches of her property. On October       Plaintiff's motion for reconsideration implicates both
14, 2010, the jury returned a verdict in favor of the         Rule 60(b) of the Federal Rules of Civil Procedure
remaining defendants (Troy Police Sergeant John                [*5] and Northern District of New York Local Rule
Waters and the City of Troy), finding no cause of action      7.1(g). 1
on any claim.


III. STANDARDS OF REVIEW                                      1 Rule   60(b) [*6] addresses the standard to be applied when
                                                              relief from a final judgment or order is sought, and provides in
                                                              relevant part that:
(a) Motion for Reconsideration
                                                                   HN3[ ] [o]n motion and just terms, the court may relieve
HN1[ ] A motion for reconsideration is not a substitute            a party . . . from a final judgment, order, or proceeding for
for an appeal. "The standard for granting [a motion for            the following reasons: (1) mistake, inadvertence,
reconsideration] is strict, and reconsideration will               surprise, or excusable neglect; (2) newly discovered
                                                                   evidence that, with reasonable diligence, could not have

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 Plaintiff does not assert which of the subsections of              (1) there is such a complete absence of evidence
Rule 60(b) he proceeds under although his arguments                 supporting the verdict that the jury's findings could only
appear to be made under either Rule 60(b)(1) or the                 have been the result of sheer surmise and conjecture,
catch-all provision of Rule 60(b)(6). HN2[ ] A motion               or (2) there is such an overwhelming amount of
under Rule 60(b)(1) must be made within one year after              evidence in favor of the movant that reasonable and fair
the judgment. See Fed. R. Civ. P. 60(c)(1). A motion                minded [persons] could not arrive at a verdict against
under Rule 60(b)(6) must be made within a reasonable                [it]." Myers v. County of Orange, 157 F.3d 66, 73 (2d
time. See Fed. R. Civ. P. 60(c)(1). What is reasonable              Cir. 1998)(internal quotations and citation omitted), cert.
entails a balancing of the interest in finality with the            denied, 525 U.S. 1146, 119 S. Ct. 1042, 143 L. Ed. 2d
reasons for the delay. Grace v. Bank Leumi Trust Co. of             49 (1999).
NY, 443 F.3d 180, 190 n.8 (2d Cir. 2006). "[A] Rule
60(b)(6) motion requires 'extraordinary circumstances,'             HN6[ ] "In ruling on a motion for JMOL, the trial court
which 'typically do not exist where the applicant fails to          is required to consider the evidence in the light most
move for relief promptly.'" Id. (quoting 12 Moore's                 favorable to the party against whom the motion was
Federal Practice § 60.48[3][c] and Transaero, Inc. v. La            made and to give that party the benefit of all reasonable
Fuerza Area Boliviana, 24 F.3d 457, 462 (2d Cir. 1994)).            inferences that the jury might [*8] have drawn in his
Local Rule 7.1(g) provides that "[u]nless Fed. R. Civ. P.           favor from the evidence. The court cannot assess the
60 otherwise governs, a party may file and serve a                  weight of conflicting evidence, pass on the credibility of
motion for reconsideration or reargument no later than              the witnesses, or substitute its judgment for that of the
FOURTEEN DAYS after the entry of the challenged                     jury." Tolbert v. Queens College, 242 F.3d 58, 70 (2d
judgment,      order,    or    decree."     N.D.N.Y.L.R.            Cir. 2001) (citation omitted). In reviewing the evidence,
7.1(g)(emphasis in original).                                       the Court should consider everything in the record,
                                                                    however, "it must disregard all evidence favorable to the
                                                                    moving party that the jury is not required to believe. . . .
(b) Motion for Judgment As a Matter [*7] of Law                     That is, the court should give credence to the evidence
(JMOL)                                                              favoring the nonmovant as well as that evidence
                                                                    supporting the moving party that is uncontradicted and
HN5[ ] "In this Circuit, a party seeking to vacate a jury           unimpeached, at least to the extent that that evidence
verdict and enter judgment as a matter of law carries a             comes from disinterested witnesses." Id. (citation
'heavy burden.'" Tesser v. Board of Educ. of City School            omitted)(emphasis in original).
Dist. of City of New York, 190 F. Supp.2d 430, 436
(E.D.N.Y. 2002)(citing Burke v. Spartanics Ltd., 252
F.3d 131, 136 (2d Cir. 2001); Ryduchowski v. Port                   (c) Motion for New Trial
Authority of New York and New Jersey, 203 F.3d 135,
142 (2d Cir. 2000)). "A motion for [JMOL] pursuant to               HN7[ ] Rule 59 of the Federal Rules of Civil Procedure
Fed. R. Civ. P. 50, may not properly be granted unless:             provides that "[a] new trial may be granted . . . for any of
                                                                    the reasons for which new trials have heretofore been
                                                                    granted in action at law in federal court." Fed. R. Civ. P.
     been discovered in time to move for a new trial under
                                                                    59(a)(1)(A). The Second Circuit has interpreted this
     Rule 59(b); (3) fraud (whether previously called intrinsic
                                                                    standard to permit the granting of new trials when "in the
     or extrinsic), misrepresentation, or misconduct by an
     opposing party; (4) the judgment is void; (5) the judgment
                                                                    opinion of the district court, the jury has reached a
     has been satisfied, released, or discharged; it is based on    seriously erroneous [*9] result or . . . the verdict is a
     an earlier judgment that has been reversed or vacated; or      miscarriage of justice." DLC Management Corp. v. Town
     applying it prospectively is no longer equitable; or (6) any   of Hyde Park, 163 F.3d 124, 133 (2d Cir.
     other reason that justifies relief.                            1998)(quotation marks and citation omitted); see Tesser
                                                                    v. Board of Educ. of City School Dist. of City of New
Fed. R. Civ. P. 60(b).                                              York, 190 F. Supp.2d 430, 440 (E.D.N.Y. 2002). "A new
                                                                    trial may be granted, therefore, when the jury's verdict is
HN4[ ] "Local Rule 7.1(g), on the other hand, merely details        against the weight of the evidence." DLC Management
a procedure to govern motions for reconsideration, without          Corp., 163 F.3d at 133.
setting out an applicable standard for determining such
applications." Chao v. Magnuson, 2008 U.S. Dist. LEXIS
                                                                    HN8[ ] "Unlike judgment as a matter of law, a new trial
46121, 2008 WL 2433698, at *2, fn. 2 (N.D.N.Y. June 12,
                                                                    may be granted even if there is substantial evidence
2008)(Peebles, M.J.)(citing N.D.N .Y. L. R. 7.1(g)).

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supporting the jury's verdict. Moreover, a trial judge is          and 25-26, 5
free to weigh the evidence himself, and need not view it           and the October 5, 2010 Decision and Order at pages
in the light most favorable to the verdict winner. A court        7-10 6
considering a Rule 59 motion for a new trial must bear             and 10-12. 7
in mind, however, that the court should only grant such
a motion when the jury's verdict is egregious." Id.                Further, the Court concluded, based on the evidence
(internal citations and quotations omitted). "[A] court           presented on the first summary judgment motion, that
should rarely disturb a jury's evaluation of a witness's          Robert Krug failed to establish Fourth Amendment
credibility." Id. (internal citations and quotations              violations relative to: (1) the briefcase because it was
omitted). Therefore, "[w]here the resolution of the issues        searched pursuant to a judicial warrant; (2) the search
depend[s] on assessment of the credibility of the                 of the 1989 Oldsmobile because, [*11] if it was
witnesses, it is proper for the court to refrain from setting     searched (Plaintiff still merely speculates that the 1989
 [*10] aside the verdict and granting a new trial."               Oldsmobile was searched when it was impounded), it
Metromedia Co. v. Fugazy, 983 F.2d 350, 363 (2d                   was lawfully searched; and (3) the other vans on his
Cir.1992).                                                        property because there existed no evidence that these
                                                                  were searched. Accordingly, the Court dismissed all of
IV. DISCUSSION                                                    Robert Krug's claims except the claims of an illegal
                                                                  search of one van on Plaintiff's residential property, a
(a) Motion for Reconsideration
                                                                  claim that a rented pick-up truck (allegedly intended as
                                                                  Robert Krug's getaway vehicle) was illegally seized and
Plaintiff Robert Krug asserts in his motion for
                                                                  searched, and a claim that the 1989 Oldsmobile was
reconsideration that the Court erred in dismissing some
                                                                  illegally seized. See March 31, 2008 Decision & Order
of his Fourth Amendment illegal search and seizure
claims because: (1) the Court might have been unaware
that there were multiple vans on his residential property;
(2) the Court might have been unaware that a briefcase
found at his property was searched; (3) the Court
overlooked Plaintiff's claim that his 1989 Oldsmobile
was seized and potentially searched; and (4) the Court
misapplied the rule of Heck v. Humphrey, 512 U.S. 477,
114 S. Ct. 2364, 129 L. Ed. 2d 383 (1994).

The first three arguments are patently frivolous as               claims arising from the van searches is denied with leave to
demonstrated by the March 31, 2008 Decision & Order               renew as against Defendants Waters, Hess, Buchanan,
at pages 10-11, 2                                                 Cieplik, and the City of Troy.")(emphasis added).
 11, 3                                                            5 ("Plaintiffs
                                                                              contend that their Fourth Amendment rights were
 25, 4                                                            violated because the 1989 Oldsmobile, although the subject of
                                                                  a search warrant issued on June 13, 2001, was illegally
                                                                  impounded by the police on June 12, 2001. . . . While there
2 (setting forth undisputed facts - "While at the second          exists no viable claim for the search of the vehicle in light of
property, Officer Hess asked [Bonnie] Krug for permission to      the uncontested fact that the search occurred pursuant to a
search two vans on the property. City Def. Ex. F, p. 118. Krug    valid warrant, . . . the motion for summary judgment on the
gave him the keys to one van and he searched it, but she          claims arising from the purported seizure of the 1989
could not find a key to the second van so it was not searched.    Oldsmobile must be denied.")
Id.")
                                                                  6 ("At  the Plaintiffs' New Baltimore residence, the police
3 (settingforth undisputed facts - "On June 13, 2001, the Troy    observed four vans in the driveway. Bonnie Krug advised the
City Court, Trial Part issued a search warrant pursuant to New    police that the vans belonged to Robert Krug. When asked,
York Criminal Procedure Law ("CPL") § 690.50 which                Bonnie Krug provided the keys to one of the vans to Officer
authorized the search of Robert L. Krug's 1989 Oldsmobile,        Hess and Hess then searched through the van. There is no
vehicle identification number 2G3AM51N7K230, [*12] and his        dispute that the van that was searched was owned by Robert
brown briefcase. Id. ¶ 15. The search of the briefcase resulted   Krug. See [*13] Pl. MOL, p. 16. Bonnie Krug has not provided
in the seizure of various papers. Id. ¶ 16.")                     facts from which a reasonable fact finder could conclude that
                                                                  she had a reasonable expectation of privacy in the van or any
4 ("Accordingly,   the motion for summary judgment on the         packages in the van.")(emphasis added).

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p. 33-34. 8                                                       HN9[ ] While the Court has recognized in this case
                                                                  that a "'suit for damages attributable to an allegedly
Any argument asking for reconsideration of these                  unreasonable search may lie even if the challenged
decisions in the March 31, 2008 Decision and Order is             search produced evidence that was introduced in a
untimely under the applicable limitations periods of Rule         state criminal trial resulting in the § 1983 plaintiff's still-
60(b)(1), Rule 60(b)(6), and Local Rule 7.1(g).                   outstanding conviction,'" Dec. 8, 2005 Dec. & Order, dkt.
Furthermore, such arguments are without merit.                    # 60, p. 11 (quoting Heck, 512 U.S. at 487 n. 7), Heck
                                                                  also instructs that "[i]n order to recover compensatory
Robert Krug's remaining Fourth Amendment claims                   damages [based on an allegedly unreasonable search],
were addressed in the October 5, 2010 Decision and                the § 1983 plaintiff must prove not only that the search
Order. As to the search of the van, the Court found that          was unlawful, but that it caused him actual,
the officer who conducted the search (Officer Hess) was           compensable injury, which, we hold today, does not
entitled to qualified immunity and that Plaintiffs failed to      encompass the 'injury' of being convicted and
establish a viable Monell claim relative to this search.          imprisoned." Heck, 512 U.S. at 487 n. 7. Plaintiff Robert
See 10/5/10 Dec. & Ord., pp. 7-11. Plaintiff Robert Krug          Krug neither made factual allegations in the Amended
presents no meritorious argument challenging these                Complaint, dkt. # 40, nor provided evidence in
determinations.                                                   opposition to the second motion for summary judgment,
                                                                  see dkt. #s 145 & 146, indicating [*16] that he suffered
As to Robert Krug's Fourth Amendment claims arising
                                                                  any actual damages from the seizure of his 1989
from the seizure of the 1989 Oldsmobile and the search
                                                                  Oldsmobile or the search and seizure of the rental
and seizure of the rental vehicle, the Court dismissed
                                                                  vehicle. Accordingly, the only actual injury conceivable
these claims under the holding of Heck v. Humphrey,
                                                                  arising from these asserted constitutional violations was
512 U.S. 477, 114 S. Ct. 2364, 129 L. Ed. 2d 383
                                                                  the fact of Plaintiff's conviction which, under Heck, is
(1994). See Oct. 5, 2010 Dec. & Ord., pp. 10-13.
                                                                  barred. See Marshall v. City of New York, 2010 U.S.
Plaintiff now argues that, while he is currently appealing
                                                                  Dist. LEXIS 123667 , 2010 WL 4739810, at *2 (S.D.N.Y.
his criminal conviction for attempted robbery of the
                                                                  Nov. 17, 2010); 9
HSBC [*15] Bank on Second Avenue in Troy, New
York, he has not raised the validity of these searches
                                                                  Smythe v. Nolley, 1997 U.S. Dist. LEXIS 17973, 1997
and seizures in his appeal. Therefore, he is of the
                                                                  WL 714238, at * 5 (W.D.N.Y. Sept. 12, 1997); 10
opinion that Heck has no application to these claims
because success on these claims would not imply the
                                                                  see also Cougle v. County of DeSoto, Miss., 303 Fed.
invalidity of his conviction.
                                                                  Appx. 164, 165 (5th Cir. 2008); 11

                                                                  Williams v. Ontario County Sheriff's Dept., 662 F.
7 ("The police believed that Robert Krug rented a truck from
the Budget Car Rental agency to be used as a getaway
vehicle after robbing the HSBC Bank on Second Avenue in
Troy. Because Robert Krug was apprehended as he ran from          9 ("The  only injury which can be construed from the facts of the
the Bank, he was unable to escape using the rented truck.         complaint is the one for which plaintiff may not recover,
Shortly after the bank robbery attempt, Robert Krug's 1989        namely his conviction and imprisonment. Therefore, plaintiff
Oldsmobile was found parked at the Budget Car Rental              has not stated a claim for violation of his Fourth Amendment
agency near the Albany International Airport. The police          rights." )(citing Heck)
impounded the vehicle and towed it to the Troy Police Garage
and then requested, and received, a warrant to search the         10 ("Considering    the holding of Heck, and in particular the
vehicle. See Pl. Ex. M. Claims regarding the search of the        impact of footnote 7, courts in the Second Circuit have held
vehicle were previously dismissed by the Court. Plaintiffs        that in order to state a § 1983 [*17] claim for damages based
assert Fourth Amendment illegal seizure claims regarding          on the conduct of government officials that resulted in the
the pre-warrant seizure of the vehicle.")                         plaintiff's conviction, the plaintiff must show not only that the
                                                                  challenged conduct was unlawful but also that it caused
8 Plaintiff
          Robert Krug's Notice of Motion does not reference       compensable injury apart from the conviction and
the rental vehicle claim, see R. Krug, Notice of Motion, dkt. #   punishment.)(citations omitted)
214, but because the Memorandum of Law references the
Heck dismissals, and because [*14] this claim was dismissed       11 (affirming grant of summary judgment under Heck where
under Heck, the Court will consider the claim under the Heck      plaintiff's complaint challenging unlawful search and arrest
argument, supra.                                                  would necessarily imply invalidity of revocation of probation)

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Supp.2d 321, 327 (W.D.N.Y. 2009); 12                                  search these locations. Three witnesses testified:
                                                                      Plaintiff Bonnie Krug, Defendant John Waters, and Troy
Bridgeforth v. County of Rensselaer, 2008 U.S. Dist.                  Police Officer Terrance Buchanan who testified for the
LEXIS 98921, 2008 WL 5156936, at *2 (N.D.N.Y. Dec.                    defense. The verdict reveals that the jury accepted the
8, 2008); 13                                                          defense witnesses' version of events, which, evidently,
                                                                      the jury found to be the more credible version of what
Shaughnessy v. Garrett, 2006 U.S. Dist. LEXIS 78921,                  occurred. The jury was free to determine the credibility
2006 WL 3146355 (N.D.N.Y., Oct. 30, 2006). 14                         of these witnesses, and the Court does not find that
                                                                      Waters and Buchanan were so lacking in credibility as
For the reasons discussed above, Plaintiff Robert Krug's              witnesses that the jury could not have properly believed
motion for reconsideration is denied.                                 all, or part, of their testimony. The Court will not upset
                                                                      this credibility assessment and Plaintiff's argument that
                                                                      the jury erred by rejecting her version of events is
(b) Motion for New Trial or JMOL                                      without merit. The Court finds that the verdict was
                                                                      adequately supported by the evidence in this case, and
Plaintiff Bonnie Krug argues that she is entitled to a new
                                                                      the Court does not find that the verdict was egregious or
trial or a JMOL because the verdict was against the
                                                                      that the jury reached a seriously erroneous result. A
weight of the evidence. In making this argument, she
                                                                      JMOL or a new trial will not be granted on this ground.
challenges the credibility assessment made by the jury
of the defense witnesses and asserts that under her                   Plaintiff next argues that she is entitled to a new trial
version of events, which the jury should have accepted,               because the defense listed FBI Agent [*20] Christopher
she is entitled to judgment as a matter of law or a new               Cieplik on their witness list but did not call him to testify
trial on her claims. The Court disagrees.                             at trial. Agent Cieplik had been a defendant in this
                                                                      action, was represented by separate counsel from the
The trial was relatively straightforward and simple. The
                                                                      trial defendants, and was dismissed from the action by
issues for the jury to decide were (1) whether Plaintiff
                                                                      Stipulation and Order (which was signed by Plaintiff's
voluntarily went to Defendant Water's office in the Troy
                                                                      counsel) entered before trial. See Stip & Ord, dkt. # 199.
Police Department headquarters and then voluntarily
                                                                      At the beginning of the trial, Defense counsel indicated
remained with Waters while the police searched her
                                                                      that he would not be calling Cieplik as a witness so
residence and another residential property [*19] that
                                                                      Plaintiff's counsel requested that he be allowed to read
she owned; and (2) whether Plaintiff voluntarily and
                                                                      from Cieplik's deposition. The Court denied the
knowingly signed consent forms so that the police could
                                                                      application because Plaintiff could not demonstrate
                                                                      Cieplik's unavailability. See Fed. R. Evid. 804. The
                                                                      simple fact that Defendants did not call a potential
12 ("Here,   Plaintiff's allegation that his conviction was           witness listed on their pre-trial witness list did not
predicated on an unlawful search and seizure in violation of          deprive Plaintiff of the ability to call him to testify and did
Plaintiff's Fourth Amendment rights necessarily challenges            not deny Plaintiff a fair trial.
the validity of Plaintiff's conviction as the fruits of the stop at
issue were the basis of Plaintiff's weapons and narcotics             Moreover, no missing witness charge was requested at
convictions in state court.")(citing Heck)                            trial and, had one been requested, it would have been
13 ("Any                                                              denied. Plaintiff has presented no facts indicating that
          decision rendered in Plaintiff's favor on his attacks on
the manner in which the Defendant Police Officers entered             she was unable to secure Cieplik's attendance at trial by
Plaintiff's residence, possibly seized evidence, and arrested         way of a subpoena, and there is no evidence that
him, will invariably call into question the validity of the           Cieplik was under the control of the trial defendants.
conviction and sentence for which he, by his own admission, is        See [*21] United States v. Myerson, 18 F.3d 153, 158
currently serving time in prison and is currently attacking in        (2d Cir. 1994). 15
state court. Thus, [*18] Plaintiff's First Cause of Action should
be dismissed as barred by Heck v. Humphrey.")

14 ("Inthis case, because a judgment in Plaintiff's favor that her    15 HN10[    ] ("[W]hen a party has it peculiarly within its power
arrest and the search and seizure of her horses were unlawful         to produce witnesses and fails to do so, the jury may infer that
would "necessarily imply" the invalidity of the ACD entered on        the testimony, if produced, would be unfavorable to that party.
the charges against her, the Heck doctrine bars these                 However, when a witness is equally available to both sides,
claims.")                                                             the failure to produce is open to an inference against both

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 The absence of Cieplik's testimony at trial does not                And Fifth, Plaintiff's arguments that attempt to fill the
entitle Plaintiff to a new trial or a judgment as a matter of       gaps and weaknesses in her case; that reargue the
law.                                                                conclusions and inferences that the jury should have
                                                                    drawn from the evidence; and that attempt to present a
Finally, Plaintiff argues that she is entitled to a JMOL or         new tactical approach that counsel could have taken at
a new trial because her counsel was "ineffective" in                trial are insufficient to warrant a new trial or a JMOL. For
failing to object to defense counsel's "prejudicial                 these reasons, Plaintiff's motion for a JMOL or, in the
statements and innuendos," in failing to object to the              alternative, a new trial is denied.
admission of certain evidence, and in failing to raise
certain issues and inconsistencies relative to
Defendants' evidence. Pl. Mol pp. 9-11. dkt. # 219.                 V. CONCLUSION

Plaintiff's arguments are without merit. First, HN11[ ]             For the foregoing reasons, Plaintiff Robert L. Krug's
"'there is no constitutional or statutory right to effective        motion for reconsideration [dkt. # 214] is DENIED; and
assistance of counsel in a civil case.'" Reid v. Rafferty,          Plaintiff Bonnie S. Krug's motion for a judgment as a
2005 U.S. Dist. LEXIS 17413, 2005 WL 2001881, at * 2                matter of law or, in the alternative, for a new trial, [dkt. #
(S.D.N.Y. Aug. 19, 2005)(quoting Watson v. Moss, 619                219] is DENIED.
F.2d 775, 776 (8th Cir.1980) and citing United States v.
Coven, 662 F.2d 162, 176 (2d Cir.1981)). [*22] Second,              IT [*24] IS SO ORDERED
Plaintiff has pointed to no statements or innuendos by
                                                                    DATED: December 10, 2010
Defense counsel that prejudiced Plaintiff's ability to
receive a fair trial. Third, the Court's instructions to the        /s/ Thomas J. McAvoy
jury, which included the instructions that the jury was to
decide the case based on only the evidence admitted at              Thomas J. McAvoy
trial and that the statements of counsel were not
evidence, cured any potential prejudice resulting from              Senior, U.S. District Judge
any statements by counsel. See Tesser, 190 F. Supp.2d
at 433. 16
                                                                      End of Document
 Fourth, Plaintiff has not pointed to any evidence,
whether objected to or not, which prejudiced her right to
a fair trial and which could be deemed to have
improperly swayed the fact finder's judgment. See Perry
v. Ethan Allen, Inc., 115 F.3d 143, 150 (2d Cir. 1997). 17


parties.")(citations and quotation marks omitted)

16 ("Ifind that any potential prejudice resulting [*23] from
statements by defense counsel which may have verged on
speculation was adequately cured by the instructions to the
jury, and in any case, in light of all the other evidence, such
statements could not be considered so substantially prejudicial
as to in some material respect have swayed the factfinder's
judgment.")(internal quotation marks and citations omitted)
17 ("The   trial court has broad discretion over the admission of
evidence, and its evaluation of relevance is entitled to
substantial deference. Evidentiary rulings ordinarily will not be
overturned absent an abuse of discretion. Further, even an
erroneous evidentiary ruling will not lead to reversal unless
affirmance would be inconsistent with substantial justice. We
will not conclude that a substantial right was affected unless it
is likely that in some material respect the factfinder's judgment
was swayed by the error." )(internal quotation marks and
citations omitted)

                                                        Michael McCartin
